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     9
   10                            UNITED STATES DISTRICT COURT
   11                       CENTRAL DISTRICT OF CALIFORNIA
   12
   13    KEVIN RISTO, on behalf of himself         Case No. 2:18-cv-07241-CAS-PLA
   14    and all others similarly situated,
                                                   Class Action
   15                    Plaintiff,
                                                   DECLARATION OF ANDREW G.
   16    vs.                                       SULLIVAN IN SUPPORT OF
   17                                              DEFENDANTS’ MOTION FOR
         SCREEN ACTORS GUILD-                      SUMMARY JUDGMENT
   18    AMERICAN FEDERATION OF
   19    TELEVISION AND RADIO
         ARTISTS, a Delaware corporation; et
   20    al.
   21                    Defendants.
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                                   DECLARATION OF ANDREW G. SULLIVAN
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     1                    DECLARATION OF ANDREW G. SULLIVAN
     2           I, Andrew G. Sullivan, declare as follows:
     3           1.    I am admitted to practice law in the State of California and am an
     4   attorney in the law firm of Jenner & Block, LLP (“Jenner & Block”), which serves
     5   as counsel of record for Defendants Screen Actors Guild-American Federation of
     6   Television and Radio Artists (“SAG-AFTRA”), American Federation of Musicians
     7   of the United States and Canada (“AFM”), Raymond M. Hair, Jr., Tino Gagliardi,
     8   Duncan Crabtree-Ireland, Stefanie Taub, Jon Joyce, and Bruce Bouton
     9   (collectively, “Defendants”). I submit this declaration in support of Defendants’
   10    Motion for Summary Judgment. If called to testify, I could and would testify as to
   11    the following based on personal knowledge.
   12            2.    Attached hereto as Exhibit 1 is a true and correct copy of excerpts of
   13    the transcript of the deposition of Bruce Bouton, which was taken on October 21,
   14    2020.
   15            3.    Attached hereto as Exhibit 2 is a true and correct copy of excerpts of
   16    the transcript of the deposition of Duncan Crabtree-Ireland, which was taken on
   17    February 16, 2021, along with deposition exhibits 1 and 3.
   18            4.    Attached hereto as Exhibit 3 is a true and correct copy of excerpts of
   19    the transcript of the deposition of Duncan Crabtree-Ireland as the designee of SAG-
   20    AFTRA, which was taken on February 17, 2021.
   21            5.    Attached hereto as Exhibit 4 is a true and correct copy of excerpts of
   22    the transcript of the deposition of Dennis Dreith, which was taken on February 11,
   23    2021, along with deposition exhibits 111, 115, 117, 118, 120, 123, 126, and 133.
   24            6.    Attached hereto as Exhibit 5 is a true and correct copy of excerpts of
   25    the transcript of the deposition of Tino Gagliardi, which was taken on October 9,
   26    2020.
   27            7.    Attached hereto as Exhibit 6 is a true and correct copy of excerpts of
   28    the transcript of the deposition of Kristina Gorbacsov as designee of SAG-AFTRA,

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     1 which was taken on October 23, 2020.
     2         8.   Attached hereto as Exhibit 7 is a true and correct copy of excerpts of
     3 the transcript of the deposition of Ray Hair, which was taken on February 24, 2021.
     4         9.   Attached hereto as Exhibit 8 is a true and correct copy of excerpts of
     5 the transcript of the deposition of Ray Hair as the designee of the AFM, which was
     6 taken on February 25, 2021, along with deposition exhibit 5.
     7         10. Attached hereto as Exhibit 9 is a true and correct copy of excerpts of
     8 the transcript of the deposition of Shari Hoffman, which was taken on February 19,
     9 2021, along with deposition exhibit 141.
    10         11. Attached hereto as Exhibit 10 is a true and correct copy of excerpts of
    11 the transcript of the deposition of Jon Joyce, which was taken on September 22,
    12 2020.
    13         12. Attached hereto as Exhibit 11 is a true and correct copy of excerpts of
    14 exhibits 2 and 3 from the deposition of Jennifer LeBlanc, which was taken on July
    15 23, 2020.
    16         13. Attached hereto as Exhibit 12 is a true and correct copy of excerpts of
    17 the transcript of the deposition of John Painting as the designee of the AFM, which
    18 was taken on October 29, 2020.
    19         14. Attached hereto as Exhibit 13 is a true and correct copy of excerpts of
    20 the transcript of the deposition of Kevin Risto, which was taken on January 29,
    21 2021, along with deposition exhibits 101, 103, and 104.
    22         15. Attached hereto as Exhibit 14 is a true and correct copy of excerpts of
    23 the transcript of the deposition of Julie Sandell, which was taken on December 9,
    24 2020.
    25         16. Attached hereto as Exhibit 15 is a true and correct copy of excerpts of
    26 the transcript of the deposition of Stefanie Taub, which was taken on October 20,
    27 2020, along with deposition exhibit 1.
    28         17. Attached hereto as Exhibit 16 is a true and correct copy of excerpts of

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     1 the transcript of the deposition of Stefanie Taub as the designee of the Fund, which
     2 was taken on January 20, 2021, along with deposition exhibits 7 and 9.
     3         18. Attached hereto as Exhibit 17 is a true and correct copy of excerpts of
     4 “Amended Responses of Defendant Bruce Bouton to Plaintiff’s First Set of
     5 Interrogatories,” served on March 1, 2021.
     6         19. Attached hereto as Exhibit 18 is a true and correct copy of excerpts of
     7 “Amended Responses of Defendant Duncan Crabtree-Ireland to Plaintiff’s First Set
     8 of Interrogatories,” served on March 1, 2021.
     9         20. Attached hereto as Exhibit 19 is a true and correct copy of excerpts of
    10 “Amended Responses of Defendant Ray Hair to Plaintiff’s First Set of
    11 Interrogatories,” served on March 1, 2021.
    12         21. Attached hereto as Exhibit 20 is a true and correct copy of excerpts of
    13 “Amended Responses of Defendant Jon Joyce to Plaintiff’s First Set of
    14 Interrogatories,” served on March 1, 2021.
    15         22. Attached hereto as Exhibit 21 is a true and correct copy of excerpts of
    16 “Amended Responses of Defendant Stefanie Taub to Plaintiff’s First Set of
    17 Interrogatories,” served on March 1, 2021.
    18         23. Attached hereto as Exhibit 22 is a true and correct copy of excerpts of
    19 “Amended Responses of Defendant Tino Gagliardi to Plaintiff’s First Set of
    20 Interrogatories,” served on March 1, 2021.
    21         24. Attached hereto as Exhibit 23 is a true and correct copy of excerpts of
    22 “Plaintiff Kevin Risto’s Responses to Defendants’ Second Set of Interrogatories,”
    23 served on February 12, 2021.
    24         25. Attached hereto as Exhibit 24 is a true and correct copy of a document
    25 produced by Defendants, entitled “WIPO Conference: The Global Digital Content
    26 Market” and Bates numbered DEFS_00041708.
    27         26. Attached hereto as Exhibit 25 is a true and correct copy of a document
    28 produced by Defendants, entitled “Standing Committee on Copyright and Related

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     1 Rights” and Bates numbered DEFS_00041713.
     2         27. Attached hereto as Exhibit 26 is a true and correct copy of a document
     3 produced by Defendants, entitled “102nd FIM EC Meeting – Rome, June 12-13,
     4 2014 DRAFT AGENDA” and Bates numbered DEFS_00041718.
     5         28. Attached hereto as Exhibit 27 is a true and correct copy of an email
     6 produced by Defendants, from Alonso Pollard to Ray Hair dated May 27, 2014 and
     7 Bates numbered DEFS_00041720.
     8         29. Attached hereto as Exhibit 28 is a true and correct copy of a letter
     9 produced by Defendants, from John Smith and Benoit Machuel to Ray Hair dated
    10 June 25, 2014 and Bates numbered DEFS_00041722.
    11         30. Attached hereto as Exhibit 29 is a true and correct copy of a letter
    12 produced by Defendants, from Ray Hair to Tino Gagliardi dated March 5, 2015 and
    13 Bates numbered DEFS_00041728.
    14         31. Attached hereto as Exhibit 30 is a true and correct copy of a document
    15 produced by Defendants, entitled “FIM Presidium Meeting Paris 21-22 Nov. 2016
    16 Proposed Agenda” and Bates numbered DEFS_00041734.
    17         32. Attached hereto as Exhibit 31 is a true and correct copy of a document
    18 produced by Defendants, entitled “FIM Presidium Meeting NYC 13-14 Mar. 2017
    19 Proposed Agenda” and Bates numbered DEFS_00041736.
    20         33. Attached hereto as Exhibit 32 is a true and correct copy of a document
    21 produced by Defendants, entitled “The Economy of Streaming Media” and Bates
    22 numbered DEFS_00041740.
    23         34. Attached hereto as Exhibit 33 is a true and correct copy of a letter
    24 produced by Defendants, from Dennis Dreith to John Simpson dated May 7, 2009
    25 and Bates numbered DEFS_00042019.
    26         35. Attached hereto as Exhibit 34 is a true and correct copy of a document
    27 produced by Defendants, entitled “Authors, Attribution, and Integrity: Examining
    28 Moral Rights in the United States” and Bates numbered DEFS_00041973.

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     1         36. Attached hereto as Exhibit 35 is a true and correct copy of a document
     2 produced by Defendants, entitled “Roundtable: Copyright’s Republic: The
     3 Contribution of Copyright to Culture, Freedom, and Human Flourishing” and Bates
     4 numbered DEFS_00041986.
     5         37. Attached hereto as Exhibit 36 is a true and correct copy of an email
     6 produced by Defendants, from “Workflow Mailer” to Duncan Crabtree-Ireland
     7 dated October 6, 2014 and Bates numbered DEFS_00041988.
     8         38. Attached hereto as Exhibit 37 is a true and correct copy of a document
     9 produced by Defendants, entitled “WORLD CREATORS SUMMIT 2013 4 & 5
    10 June 2013 Speaker’s brief” and Bates numbered DEFS_00041992.
    11         39. Attached hereto as Exhibit 38 is a true and correct copy of a document
    12 produced by Defendants, entitled “Conference Program” and Bates numbered
    13 DEFS_00041996.
    14         40. Attached hereto as Exhibit 39 is a true and correct copy of a document
    15 produced by Defendants, entitled “Sound Recording Distribution Guidelines” and
    16 Bates numbered DEFS_00000086.
    17         41. Attached hereto as Exhibit 40 is a true and correct copy of a document
    18 produced by Defendants, entitled “Roundtable: Copyright’s Republic: The
    19 Contribution of Copyright to Culture, Freedom, and Human Flourishing, Meeting
    20 Logistics” and Bates numbered DEFS_00041983.
    21         42. Attached hereto as Exhibit 41 is a true and correct copy of an email
    22 produced by Defendants, from Ted Shapiro to Duncan Crabtree-Ireland dated July
    23 28, 2014 and Bates numbered DEFS_00041989.
    24         43. I supervised the collection and production of documents from the Fund
    25 in response to the Plaintiff’s requests for production of documents in this action. In
    26 response to Plaintiff’s discovery requests, Defendants have produced in excess of
    27 15,000 emails which reflect communications between the Fund and the Unions
    28 pertaining to requests by the Fund for data regarding non-featured performers.

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     1        I declare under penalty of perjury under the laws of the United States of
     2 America that the foregoing is true and correct.
     3        Executed this 23rd day of April, 2021.
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                                              ______________________
     6                                        Andrew G. Sullivan
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                               DECLARATION OF ANDREW G. SULLIVAN
